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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON


JANEEK L. WIGGAN,

           Movant

v.                                          CIVIL ACTION NO. 2:07-00639
                                            (Criminal No. 2:00-00005-01)

UNITED STATES OF AMERICA,

           Respondent


                      MEMORANDUM OPINION AND ORDER


           The court having received the proposed findings and

recommendation of the United States Magistrate Judge filed on

August 14, 2008, pursuant to the provisions of 28 U.S.C.

§ 636(b)(1)(B); and having reviewed the record in this proceed-

ing; and there being no objections filed by either the United

States or the movant to the proposed findings and recommendation;

and it appearing proper so to do, it is ORDERED that the findings

and conclusions made in the proposed findings and recommendation

of the magistrate judge be, and they hereby are, adopted by the

court.


           It is, accordingly, ORDERED that the movant's section

2255 motion be, and it hereby is, denied.             It is further ORDERED

that this action be, and it hereby is, dismissed.
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           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

magistrate judge.

                                         DATED: September 17, 2008



                                         John T. Copenhaver, Jr.
                                         United States District Judge
